

Matter of Albers (2022 NY Slip Op 05193)





Matter of Albers


2022 NY Slip Op 05193


Decided on September 15, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:September 15, 2022

PM-161-22
[*1]In the Matter of Larry Vaughn Albers, an Attorney. (Attorney Registration No. 5733324.)

Calendar Date:September 12, 2022

Before:Garry, P.J., Lynch, Clark, Aarons and Fisher, JJ.

Larry Vaughn Albers, Lincoln, Nebraska, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Larry Vaughn Albers was admitted to practice by this Court in 2019 and lists a business address in Lincoln, Nebraska with the Office of Court Administration. Albers now seeks leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) opposes the application by correspondence from its Chief Attorney.
As is noted by AGC, Albers is presently delinquent in his New York attorney registration requirements, having failed to register for the biennial period beginning in 2021 (see Judiciary Law § 468-a; Rules of the Chief Admin of Cts [22 NYCRR] § 118.1). Inasmuch as Albers is therefore subject to potential disciplinary action (see Judiciary Law § 468-a [5]; Rules of Professional Conduct [22 NYCRR 1200.0] rule 8.4 [d]; see also Matter of Attorneys in Violation of Judiciary Law § 468-a, 113 AD3d 1020, 1021 [3d Dept 2014]), he is ineligible for nondisciplinary resignation and his application must be denied (see Matter of Cluff, 148 AD3d 1346, 1346 [3d Dept 2017]; Matter of Bomba, 146 AD3d 1226, 1226-1227 [3d Dept 2017]). Further, any future application by Albers must be supported by proof of his full satisfaction of the requirements of Judiciary Law § 468-a and Rules of the Chief Administrator of the Courts (22 NYCRR) § 118.1 (see Matter of Frank, 146 AD3d 1228, 1228-1229 [3d Dept 2017]).
Garry, P.J., Lynch, Clark, Aarons and Fisher, JJ., concur.
ORDERED that Larry Vaughn Albers's application for permission to resign is denied.








